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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

MONTY CLAY, individually and as next
friend of J.C.C. and J.M.C., and as Personal
Representative of the Estate of Amy Clay;
LYNDA WILSON; LINDA PHILLIPS, as
next friend of G.A.P.; BRENDAN PHILLIPS;
DALE PHILLIPS, SR., individually and as
the Personal Representative of the Estate of
Dale Leighroy Phillips, Jr.; and KAREN B.
PHILLIPS,

Plaintiffs,
VS. Case No. 6:14-cv-235-Orl-36GJK

AIG AEROSPACE INSURANCE
SERVICES, INC.; CHARTIS AEROSPACE
INSURANCE SERVICES, INC.;
WILLIAMSON AIRCRAFT, INC.;
AIR-TEC, INC.; ERIC RUHE; BOB RUHE
AG SERVICE, INC.; RUHE SALES, INC.;
and MARILYN RUHE,

Defendants.
/

 

DEFENDANTS, MARILYN RUHE, BOB RUHE AG SERVICE, INC. AND RUHE
SALES, INC.’S MOTION TO DISMISS COMPLAINT FOR LACK OF
PERSONAL JURISDICTION AND TO QUASH SERVICE OF PROCESS
WITH MEMORANDUM OF LAW IN SUPPORT

COMES NOW INTO COURT, Defendants, MARILYN RUHE, in her individual
capacity, and BOB RUHE AG SERVICE, INC. and RUHE SALES, INC. (hereafter,
“RUHE CORPORATIONS”), by and through undersigned counsel, and by way of special

appearance solely for the purpose of contesting and objecting to service of process on,

and the personal jurisdiction of, this Court over Defendants, hereby files and serve this

LAW OFFICES

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Motion to Dismiss the Plaintiffs’ First Amended Complaint for Lack of Personal
Jurisdiction and to Quash Plaintiffs’ Service of Process. In support hereof, Defendants
state as follows:

1. The instant case is a wrongful death action arising out of the crash of a
single-engine Piper aircraft registered as N7147P. Complaint, paras. 1, 18.

2. The aircraft accident is alleged to have occurred during a flight from Texas
to Oklahoma on February 20, 2012. Id.

3. The aircraft accident is alleged to have resulted in the untimely deaths of
pilot, Dale Leighroy Phillips, Jr., and his passenger, Amy Clay. Id.

4. Plaintiffs allege the aircraft accident was caused by the failure of the aircraft
engine’s vacuum pump which is a component attached to the aircraft engine. Complaint,
para. 19.

5. Plaintiffs’ Complaint contends “[a] substantial part of the events or
omissions giving rise to the claims alleged herein occurred in Orange County, Florida.”
Complaint, para. 2.

6. In point of fact, based on the clearly stated allegations in the Complaint,
Plaintiffs solely base jurisdiction in the Middle District of Florida on a single sale of the
aircraft engine and the accessory vacuum pump at issue between two Florida
corporations: Air-Tec, Inc. in Mims, Florida! and Williamson Aircraft, Inc. in Orlando,

Florida.’

 

' Plaintiffs allege in paragraph 20i that “the Ruhe Defendants sold the subject engine and subject
vacuum pump to Air-Tec ... and made arrangements to ship the subject engine and subject

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7. All of the Plaintiffs are residents of the state of Texas.

8. MARILYN RUHE is a resident of the state of Ohio with a long-established
residence only in Liepsic, Ohio. She is the widow of Robert Ruhe, deceased.

9. The RUHE CORPORATIONS are domestic Ohio corporations with
business offices only in Leipsic, Ohio. The RUHE CORPORATIONS were founded by
Robert Ruhe, deceased.

10. That Defendants AIG AEROSPACE INSURANCE SERVICES, INC. and
CHARTIS AEROSPACE INSURANCE SERVICES, INC. are registered Georgia
corporations.

11. Plaintiffs’ Complaint suggests this Court has specific jurisdiction over
MARILYN RUHE and the RUHE CORPORATIONS pursuant to Florida Statute §
48.193(1)(a), (1)(b), (1)(f), or (1)(g). Complaint, para. 16. Notably, the cited statute does

not have subsections numbered (1)(f) or (1)(g). Fla. Stat. 48.193 (2013).

 

12. Plaintiffs’ Complaint then references various “acts” in paragraph 16,
subparagraphs a. through d., that correlate generally with subsections (1)(a)l, (1)(a)2,
(1)(a)6 and (1)(a)7 alleging MARILYN RUHE and the RUHE CORPORATIONS
performed the following acts, respectively:

a. “Operated, conducted, engaged in, or carried on a business or

business venture in Florida or have or have had an office or agency within Florida.

 

vacuum pump to Orlando, Florida.” This is almost certainly incorrect as Air-Tec is registered to
do business in Mims, Florida and conducts all of its business activities there.

? Plaintiffs allege in paragraph 20k that “Williamson sold the subject engine in Mims, Florida to
Phillips.” This is almost certainly incorrect as Williamson Aircraft is registered to do business in
Orlando, Florida and conducts all of its business activities there.

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b. “Committed a tortious act within Florida.

c. “Caused injury to persons or property in Florida arising out of acts or
omissions by the defendant outside Florida, and at the time of the injury, (i) the defendant
engaged in solicitation or service activities within Florida; or (ii) products, materials, or
things processed, served, or manufactured by the defendant anywhere were used or
consumed in Florida in the ordinary course of commerce, trade, or use.

d. “Breached a contract in Florida by failing to perform acts required by
the contract to be performed in Florida.”

13. Other than the paraphrased recitation of portions of the jurisdiction statute,
Plaintiffs make only unsubstantiated conclusions of law — and provide no facts indicating
MARILYN RUHE or the RUHE CORPORATIONS actually conducted any business
activities in Florida, committed any tortious acts in Florida, caused injury to persons or
property in Florida, or breached any contracts in Florida. Indeed, as is (or should be) well
known to Plaintiffs after the taking of MARILYN RUHE’s deposition in previous Texas
litigation, there are no facts that will suffice to satisfy or support these jurisdictional
requirements.

14. Alternatively, Plaintiffs suggest “Defendants who have not sought and do
not have authorization to transact business in Florida, [...] are subject to jurisdiction here
under the provisions of Fla. Statute § 48.193(2) because they are engaged in substantial
and not isolated activity within Florida” — i.e., under Florida’s “long-arm” statute.

15. As evidence of “substantial and not isolated activity within Florida,”

Plaintiffs’ Complaint alleges MARILYN RUHE or the RUHE CORPORATIONS were
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involved in the single act of a one-time sale of the aircraft engine and vacuum pump at
issue from AIG AEROSPACE INSURANCE SERVICES, INC., and CHARTIS
AEROSPACE INSURANCE SERVICES, INC. as salvage in Coral Springs, Florida
which was followed five years later by a purchase of the aircraft engine and vacuum
pump at issue by Air-Tec, Inc. Complaint, paras. 20g, 20i.° There is no credible way to
construe single transactions separated by a five-year time span as “substantial and not
isolated activity” within Florida.

16. Moreover, Plaintiffs’ Complaint alleges, as a basis for general jurisdiction,
that MARILYN RUHE and the RUHE CORPORATIONS were “in the business of
purchasing, marketing, selling and distributing aircraft parts, including but not limited to
such parts as an engine (Serial No. L-20394-40A) and a vacuum pump 215CC (Serial No.
1706) which, through the stream of commerce, were sold in Florida.” Complaint, paras.
8-10.

17. As evidenced by the attached affidavits of MARILYN RUHE (Exhibit A)
and ERIC RUHE (Exhibit B), neither MARILYN RUHE nor the RUHE
CORPORATIONS are or ever have been in the business of “purchasing, marketing,
selling and distributing aircraft parts” as falsely alleged to the Court by Plaintiffs.

18. BOB RUHE AG SERVICE, INC. is and was at all material times an
agricultural spraying operation that provides farmers with aerial application of fertilizers,

pesticides and fungicides on crops in the local Ohio area (and not Florida).

 

3 Plaintiffs’ Complaint admits the aircraft engine and vacuum pump at issue were crated when
the aircraft was sold by AIG/Chartis and merely stored for five years in Ohio until finally sold in
its crated condition to Air-Tec. Complaint, para. 20h.

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19. RUHE SALES, INC. is and was at all material times a business that owned
aircraft that were used to conduct local agricultural spraying operations for farmers
predominantly in Ohio.

20. BOB RUHE AG SERVICE, INC. employs Turbo Thrush aircraft to
conduct agricultural spraying operations, which cannot be outfitted with a Piper make and
model engine such as the engine at issue.

21. Bob Ruhe, who passed away on September 10, 2008 purchased a salvage
aircraft, which included the engine at issue, with the intent of rebuilding the aircraft or its
useful, undamaged components in his other aircraft for his personal use

22. As further established by the attached Affidavits, MARILYN RUHE and
the RUHE CORPORATIONS do not maintain, and have never maintained at any time,
any businesses, business ventures, offices or agents in the State of Florida.

23. Furthermore, MARILYN RUHE and the RUHE CORPORATIONS have
never been incorporated in the State of Florida nor have they ever been authorized at any
time in the past or at the present time to do business in the State of Florida, nor have they
sought the privilege of doing so. Specifically, neither MARILYN RUHE nor the RUHE
CORPORATIONS have ever applied for a resident or non-resident pesticide applicator’s
license pursuant to Florida Statute 487.011, et seq.

24. Furthermore, MARILYN RUHE and the RUHE CORPORATIONS do not

have any bank accounts, books, records, or telephone listings in the State of Florida.
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25. Furthermore, MARILYN RUHE and the RUHE CORPORATIONS do not
place advertisements for products in newspapers printed in Florida nor do they place
television or radio advertising for products with broadcasting stations directed into or
based in Florida.

26. Furthermore, MARILYN RUHE and the RUHE CORPORATIONS do not
solicit orders from farmers in Florida in order to develop a market for agricultural
spraying services.

27. Finally, the engine was purchased by Robert G. Ruhe, deceased, as part of a
salvage sale with the intent of rebuilding the aircraft for potential pleasure flying, which
simply did not occur before his passing in 2008.

28. The subject engine was sold strictly as a lingering asset from the Estate of
Robert G. Ruhe after his death. The subject engine was sold to Air-Tec, Inc. AG Service
did not arrange to ship the Subject Engine to any location, including Florida. Rather, Air-
Tec, Inc. made all arrangements for shipping the subject engine out of Ohio. The sale
was totally consummated, executed and concluded in Ohio, not in Florida.

29. Plaintiffs’ Complaint employs the option of using the language of the
statute, ic., that MARILYN RUHE and the RUHE CORPORATIONS “operated,
conducted, engaged in and carried on a business or business venture in Florida,” to satisfy
the first prong of the analysis required to assert a statutory basis for long-arm jurisdiction.

30. However, Plaintiffs’ Complaint fails to establish whether MARILYN
RUHE or the RUHE CORPORATIONS possess sufficient minimum contacts with the

State of Florida to satisfy constitutional due process requirements, the second prong of the

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analysis required to assert a statutory basis for long-arm jurisdiction under Florida Statute
48.193(2), as argued in the proceeding Memorandum of Law as to Personal Jurisdiction.

31. This jurisdictional defect in Plaintiffs’ Complaint requires the Court to
quash the service of process on MARILYN RUHE and the RUHE CORPORATIONS and
to dismiss Plaintiffs’ Complaint for lack of personal jurisdiction.

MEMORANDUM OF LAW AS TO PERSONAL JURISDICTION

32. In order to determine whether foreign defendants can be made subject to the
jurisdiction of Florida’s federal or state courts, a two-prong test must be satisfied.

Cable/Home Comme’n Corp. v. Network Prods., Inc., 902 F.2d 829, 855 (1 1" Cir, 1990).

 

Under the first prong, the court must determine the complaint alleges sufficient
jurisdictional facts to bring the action within the ambit of Florida’s long-arm statute. Id.
If the first prong is factually satisfied, the court must determine whether the second prong,
which requires the defendants to have sufficient constitutionally required “minimum
contacts” with Florida to satisfy due process requirements, is satisfied. Id. See also

Venetian Salami _v. Parthenais, 554 So.2d 499 (Fla. 1989); Dico Company Inc. v.

 

Meekins, 407 So.2d 1067 (Fla. 4th DCA 1981); W.C.T.U. Railway Co. v. Szilagyi, 511

 

So.2d 727 (Fla. 3d DCA 1987); PK Computers v. Independent Travel Agencies of

America, Inc., 656 So.2d 254 (Fla. 4th DCA 1995); Washington Capital Corp. v.

 

Milandco, Ltd., Inc., 695 So.2d 838 (Fla. 4th DCA 1997) (J. Pariente). “The

 

constitutional touchstone of the minimum contact analysis is whether ‘the defendant’s

conduct and connection with the forum state are such that he should reasonably anticipate
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being haled into court there.’” Ben M. Hogan Co., Inc. v. QDA Investment Corp., 570
So.2d 1349 (Fla. 3d DCA 1990) (quoting Burger King v. Rudzewicz, 471 U.S. 462, 474,
105 S.Ct. 2174, 2183, 85 L.Ed.2d 528, 542 (1985) (internal citation omitted)). “Only if
both prongs of the analysis are satisfied may a federal or state court exercise personal
jurisdiction over a nonresident defendant.” Madara v. Hall, 916 F.2d 1510, 1514 qi®
Cir. 1990).

33. The facts presented by the attached Affidavits reveal there are insufficient
contacts with the State of Florida to satisfy the due process requirement for obtaining
personal jurisdiction over MARILYN RUHE or the RUHE CORPORATIONS via
Florida’s long-arm statute.

34. By comparison, Plaintiffs have failed to establish the minimum contacts
MARILYN RUHE and the RUHE CORPORATIONS must have with Florida to preclude
the maintenance of a suit that “offends traditional notions of fair play and substantial
justice.” International Shoe Company v. Washington, 326 U.S. 310, 316, 66 S.Ct. 154,
158, 90 L.Ed. 95, 102 (1945).

35. The only jurisdictional fact pled in Plaintiffs’ Complaint on which they base
their contention that the Court should assert long-arm jurisdiction over MARILYN
RUHE and the RUHE CORPORATIONS is that they were “in the business of
purchasing, marketing, selling and distributing aircraft parts,” including the aircraft
engine and vacuum pump at issue in this litigation, “which, through the stream of

commerce, were sold in Florida.” Complaint, paras. 8-10.
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36. It should be obvious that the stream of commerce test is inappropriately
asserted as a basis for jurisdiction under circumstances such as are alleged in this case.

Manufacturers and distributors generally place products into the stream of commerce. It

 

stretches credulity to contend isolated arms-length transactions involving a sale of salvage
from a pair of managing general agents to an individual such as the deceased Mr. Ruhe
and, following his death, subsequently to a supplier of aircraft engines and parts on a one-
time basis by his Estate, constitutes the placing of product into the stream of commerce
by a manufacturer or distributor. See, e.g., Maschinenfabrik Seydelmann v. Altman, 468
So.2d 286, 290 (Fla. 2d DCA 1985) (Minimum contacts are not established “merely by
showing that a manufacturer could foresee that his product would be used in a particular
state and that he derived some indirect economic benefit from its use.””). There must be
proof that the nonresident defendant engaged in some action purposefully directed toward
the forum state. Kin Yong Lung Indus. Co., Ltd. v. Temple, 816 So.2d 663 (Fla. 2d DCA
2002) (internal citations omitted). “Such purposeful availment requires something more
than merely placing a product into the stream of commerce.” Id., citing Asahi Metal

Indus. Co. v. Superior Court of Cal., 480 U.S. 102, 112, 107 S.Ct. 1026; Shin-Kobe Elec.

 

Mach. Co. v. Rockwell, 750 So.2d 67, 69 (Fla. 2d DCA 1999); Altman, 468 So.2d at 290;

 

Relco Shoe Mach., Ltd. v. Gonzalez, 559 So.2d 1251, 1252 (Fla. 3d DCA 1990); see also,

 

Baranek v. American Optical Corp., 941 So.2d 1214 (Fla. 4" DCA 2006)(“The stream of

 

commerce test for jurisdiction is met if the nonresident defendant’s product is purchased

by or delivered to a consumer in the forum state, so long as the nonresident’s conduct and
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connection with the forum state are such that he should reasonably anticipate being haled
into court there for claims arising out of that conduct.”’)

37. Plaintiffs’ allegation, by its very nature, fails to establish the minimum
contacts MARILYN RUHE and the RUHE CORPORATIONS are required to have with
Florida before the court can assert in personam jurisdiction over them.‘

38. Appellate courts have routinely quashed service and vacated judgments
against foreign defendants when jurisdictional allegations have not been properly made.
Dico Company, 407 So.2d at 1067; W.C.T.U. Railway Co., 511 So.2d at 730;
Washington Capital Corp., 695 So.2d at 843; Greystone Tribeca Acquisition, LLC v.

Ronstrom, 863 So.2d 473, 476 (Fla. 2d DCA 2004). See also PK Computers, Inc., 656

 

So.2d at 254; Camp Illahee Investors, Inc. v. Blackman, 870 So.2d 80 (Fla. 2d DCA
2003); Utility Trailer Manufacturing Co. v. Cornett, 526 So.2d 1064 (Fla. Ist DCA 1988).

SERVICE OF PROCESS

39. In order to perfect service on foreign corporations and residents such as
MARILYN RUHE and the RUHE CORPORATIONS, Plaintiffs’ Complaint must make a
clear showing that the transaction out of which the cause of action arises is by its very
nature a business activity or a link in a chain of acts which collectively constitute the

doing of business in Florida by MARILYN RUHE and the RUHE CORPORATIONS.

 

4 The court should take note that the state court in Texas where this case was initially filed
dismissed the case against the Ruhe Corporations for lack of jurisdiction based on the same
jurisprudential considerations noted in this Memorandum of Law — lack of substantial activity in
the forum state and insufficient minimum contacts.

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Lyster v. Round, 276 So.2d 186 (Fla. Ist DCA 1973); Pelycado Onroerend Goed B.V. v.

 

Ruthenberg, 635 So.2d 1001 (Fla. 5th DCA 1994),
40. Plaintiffs bear the initial burden of pleading the basis for service under the

long-arm statute. Venetian Salami, 554 So.2d at 502; Dico Company, Inc., 407 So.2d at

1067; W.C.T.U. Railway Co. v. Szilagyi, 511 So.2d at 727; Washington Capital Corp.

 

695 So.2d at 838; Belz Investco Ltd. Partnership v. Groupo Immobiliano Cababie, S.A.,

 

721 So.2d 787 (Fla. 3d DCA 1998); Greystone Tribeca, 863 So.2d at 473. It may allege
the basis for service either by utilizing the language of the statute without pleading
supporting facts or by alleging specific facts demonstrating MARILYN RUHE’s and the
RUHE CORPORATIONS’ actions fit within one or more of the subsections of §48.193,
Florida’s long-arm statute. Venetian Salami, 554 So.2d at 502; Washington Capital
Corp., 695 So.2d at 841; Belz Investco, 721 So.2d at 789; Greystone Tribeca, 863 So.2d
at 475.

41. If the allegations of the complaint are sufficient to establish Florida’s long-
arm jurisdiction, the burden shifts to MARILYN RUHE and the RUHE
CORPORATIONS to contest jurisdiction by a legally sufficient affidavit or other similar
swom proof contesting the essential jurisdictional facts. Venetian Salami, 554 So.2d at

502; Washington Capital Corp., 695 So.2d at 841; Belz Investco, 721 So.2d at 789;

 

Greystone Tribeca, 863 So.2d at 475.
42. The burden then returns to Plaintiffs who must, by affidavit or other sworn

statement, refute the proof in MARILYN RUHE’s and the RUHE CORPORATIONS’

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affidavit. Venetian Salami, 554 So.2d at 502; Washington Capital Corp., 695 So.2d at

 

841; Belz Investco, 721 So.2d at 789; Greystone Tribeca, 863 So.2d at 475.

43. Should Plaintiffs fail to refute the allegations of MARILYN RUHE and the
RUHE CORPORATIONS’ affidavit, the court is required to grant a motion to dismiss,
provided their affidavit properly contests the basis for long-arm jurisdiction by legally

sufficient facts. Venetian Salami, 554 So.2d at 502; Washington Capital Corp., 695

 

So.2d at 841; Belz Investco, 721 So.2d at 789; Greystone Tribeca, 863 So.2d at 475.

44. If there is no conflict between the parties’ affidavits as to the essential
jurisdictional facts, the trial court can resolve the issue of jurisdiction on the basis of the
affidavits. Venetian Salami, 554 So.2d at 502; Washington Capital Corp., 695 So.2d at
841; Belz Investco, 721 So.2d at 789; Greystone Tribeca, 863 So.2d at 475. If any
essential facts relating to jurisdiction are in conflict, then the trial court must conduct a
limited evidentiary hearing to resolve the disputed facts. Venetian Salami, 554 So.2d at
502; Washington Capital Corp., 695 So.2d at 841; Belz Investco, 721 So.2d at 789. See

also Bellairs v. Mohrmann, 716 So.2d 320 (Fla. 2d DCA 1998).

 

45. Plaintiffs have erroneously alleged MARILYN RUHE and the RUHE
CORPORATIONS “operated, conducted, engaged in and carried on a business or
business venture in Florida,” and have failed to allege whether or how the cause of action
arose from these alleged business activities in Florida.

46. The sworn Affidavits contradict Plaintiffs’ erroneous allegations and clearly
establish the fact that neither MARILYN RUHE nor the RUHE CORPORATIONS now

or at any material time operated, conducted, engaged in or carried on any business or

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business ventures in the State of Florida. Indeed, how could one economically conduct
agricultural (crop dusting) spraying operations in Florida from a base in northern Ohio?
Furthermore, the Affidavits aver neither MARILYN RUHE nor either of the RUHE
CORPORATIONS ever applied for or obtained a resident or non-resident pesticide
applicator’s license which would be required as a prerequisite to providing agricultural
spraying services pursuant to Florida Statutes, § 487.011, et seq.

47. Since Plaintiffs’ allegations regarding MARILYN RUHE’s and the RUHE
CORPORATIONS?’ presence in the state are contradicted by the sworn affidavits of
Marilyn Ruhe and Eric Ruhe, Plaintiffs’ Complaint fails to allege a valid factual basis for
service using the language of the statute or through the allegation of specific facts
demonstrating MARILYN RUHE’s and the RUHE CORPORATIONS?’ actions fit within
one or more of the subsections of §48.193, Florida Statutes.

48. Having failed to make the proper jurisdictional allegations in their
Complaint, and having failed to establish MARILYN RUHE’s and the RUHE
CORPORATIONS’ minimum contacts with the State of Florida, Plaintiffs’ service is not
perfected and the trial court may not, therefore, assert jurisdiction over MARILYN
RUHE and the RUHE CORPORATIONS. Sun State Assocs. Ltd. v. Continental Ill.

Nat’! Bank Trust Co. of Chicago, 481 So.2d 543, 544 (Fla. 2d DCA 1986).

 

WHEREFORE, Defendants, MARILYN RUHE and the RUHE
CORPORATIONS respectfully request this Court enter an order quashing the service of

process and dismissing Plaintiffs’ case for lack of personal jurisdiction over MARILYN

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RUHE and the RUHE CORPORATIONS and to grant such other relief as the interests of
justice may require.
CERTIFICATE OF SERVICE

I hereby certify that on 9" day of June, 2014 the foregoing document was

electronically filed with the Court’s CM/ECF system, which will electronically serve all

ALL ll

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AFFIDAVIT OF MARILYN D. RUHE
IN SUPPORT OF HER INDIVIDUAL MOTION
AND THAT OF BOB RUHE AG SERVICES, INC. AND RUHE SALES, INC.’S
MOTION TO DISMISS PLAINTIFFS’? COMPLAINT FOR LACK OF
PERSONAL JURISDICTION AND TO QUASH SERVICE OF PROCESS

STATE OF OHIO
COUNTY OF PUTNAM

Before me, the undersigned authority, duly authorized to administer oaths and take
acknowledgements, personally appeared MARILYN D. RUHE who, after being first duly
swom, deposes and states:

1, That I am over eighteen (18) years of age, sui juris, and have personal
knowledge of all the facts set forth herein.

2, That if called upon to testify in person regarding the facts in this Affidavit,
I would do so consistently and in accordance with the facts set forth herein.

3. That I am and at all material times have been a resident of the state of Ohio
and have never been a resident of the state of Florida.

4, That I do not transact business in the field of aviation as an individual.

5. That I am an officer of Bob Ruhe Ag Service, Inc. (hereinafter, “Ag
Service”) and Ruhe Sales, Inc. (hereinafter, “Ruhe Sales”).

6, That Ag Service is an Ohio domestic corporation with offices in Leipsic,
Ohio. Ag Service has never been incorporated in the State of Florida nor has it ever been

authorized, al any time in the past or at the present time, to do business in the State of

Florida, nor has it sought the privilege of doing so.

EXHIBIT

A

tabbies*
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7. That Ruhe Sales is an Ohio domestic corporation with offices in Leipsic,
Ohio. Ruhe Sales has never been incorporated in the State of Florida nor has it ever been
authorized, at any time in the past or at the present time, to do business in the State of
Florida, nor has it sought the privi lege of doing so.

8. That I have prepared this Affidavit on behalf of myself in my individual
capacity and on behalf of Ag Service and Ruhe Sales in my corporate officer capacity.

9. That Ag Service is an agricultural spraying operation that provides for the
aerial application of fertilizers, pesticides and fungicides on crops primarily situated in
Ohio.

10. That Ruhe Sales is a business that has owned aircraft from time to time for
the purpose of conducting aerial applications of fertilizers, pesticides and fungicides on
crops.

11. That Ag Service and Ruhe Sales were both incorporated by my husband,
Robert G. Ruhe, now deceased.

12, That Robert G. Ruhe passed away on September 10, 2008.

13. That neither I nor Ag Service or Ruhe Sales are in the business of
purchasing, marketing, selling, and distributing aircraft components.

14.‘ That neither I nor Ag Service or Ruhe Sales have offices at any location in
the state of Florida.

15. That the business offices for Ag Service and Ruhe Sales are and always

have been located only in Leipsic, Ohio.
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16. That neither I nor Ag Service or Ruhe Sales have a registered agent located
in the state of Florida

17, That neither [ mor Ag Service or Ruhe Sales are registered to do business in
the state of Florida, nor has a resident or non-resident pesticide applicator’s license ever
been sought from the state of Florida pursuant to Florida Statutes, § 487.011, ef seg.

18. That neither I nor Ag Service or Ruhe Sales have any bank accounts in the
state of Florida.

19. That neither I nor Ag Service or Ruhe Sales maintain any P.O. Boxes or
business addresses for the receipt of mail in the state of Florida.

20. That neither I nor Ag Service or Ruhe Sales pay any taxes to the state of
Florida. |

21. That neither I nor Ag Service or Ruhe Sales own or lease any property in
Florida.

22. That neither I nor Ag Service or Ruhe Sales maintain any telephone lines or
cable services in Florida.

23. That neither I nor Ag Service or Ruhe Sales own, possess, or control any
tangible or intangible assets or interests in the state of Florida.

24, That neither IT nor Ag Service or Ruhe Sales have any employees,
representatives or agents operating on any behalf in the state of Florida.

25. That neither I nor any other employee of Ag Service or Ruhe Sales have

ever traveled to the state of Florida for business purposes.

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25. That neither [ nor any other employee of Ag Service or Ruhe Sales have
ever committed any tortious conduct within the state of Florida.

27. That neither I nor any other employee of Ag Service or Ruhe Sales have
caused any injury to persons or property in the state of Florida.

28. That neither I nor Ag Service or Ruhe Sales advertise for business in the
state of Florida. Neither Ag Service nor Ruhe Sales places advertisements in newspapers
printed in Florida nor do they place television or radio advertising with broadcasting
stations based in Florida.

29. That neither Ag Service’s nor Ruhe Sales’s business plans are directed to
the sale of business services in the state of Florida.

30. That neither I nor Ag Service or Ruhe Sales have ever established any
channel for providing business information to potential customers in the state of Florida.

31. That neither I nor Ag Service or Ruhe Sales have ever shipped, distributed
or provided products, including any aircraft components, to residents of the state of
Florida as part of any systematic or continuous business operation.

32. That neither [ nor Ag Service or Rube Sales have ever established any
distribution channel for providing products, including any aircraft components, to
residents of the state of Florida as part of any systematic or continuous business
operation.

33. That neither I nor Ag Service or Ruhe Sales have ever provided any

business services as aircraft parts dealers, suppliers, or distributors.

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34. That Ag Service and Ruhe Sales provide the overwhelming majority of
their business services in the state of Ohio.

35. That Ag Service and Ruhe Sales have never provided business services in
the state of Florida.

36. That it would be a tremendous financial and personal burden on myself to
defend a lawsuit in the state of Florida.

37. That it would be a tremendous financial burden on Ag Service and Ruhe
Sales to defend a lawsuit in the state of Florida.

38. That I have personally reviewed the Complaint filed in the United States
District Court for the Middle District of Florida under Case Number 6:14-cv-235-Orl-
36GIJK.

39. That the Complaint references an aircraft engine, serial number-20394-40A
and a related vacuum pump 215CC, serial number 1706 (collectively, “Subject Aircraft
Components”) with which I’m familiar solely as a result of the instant litigation and
preceding litigation in the state of Texas,

40. That, assuming the Subject Aircraft Components include the vacuum pump
as alleged, the Subject Aircraft Components were purchased by Robert G. Ruhe as part of
an aircraft salvage sale that my husband intended to rebuild as a pleasure aircraft.

41. That, assuming the Subject Aircraft Components include the vacuum pump
as alleged, the Subject Aircraft Components were sold strictly as a lingering asset from

the Estate of Robert G. Ruhe after his passing.
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42. That upon information and belief, and assuming the Subject Aircraft
Components include the vacuum pump as alleged, the Subject Aircraft Components were
never used to propel an aircraft in flight in the state of Florida.

43. That neither I nor any employee of Ag Service or Ruhe Sales could have
foreseen that the Subject Aircraft Components, assuming the Subject Aircraft
Components include the vacuum pump as alleged, would be subsequently sold into the
state of Texas or used on a flight from Texas to Oklahoma.

44. That I do not otherwise have any personal or business contacts with the
state of Florida.

FURTHER AFFIANT SAYETH NOT.

     

*

MARILYN D/RUHE
Individually, as on behalf of Bob Ruhe
Ag Services, Inc. and Ruhe Sales, Inc.

 

  

 

 

STATE OF OHIO
COUNTY OF PUTNAM
The foregoing instrument was subscribed and sworn before me this 4° x day of
, 2014, by Marilyn D. Ruhe, who is personally known to me or who has
produced as identification. a
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i Amstutz -

My Commission Expires: Notary Public, State of Ohio

February 5, 2019
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AFFIDAVIT OF ERIC J, RUBE IN SUPPORT OF BOB RUHE AG SERVICE, INC.’S
MOTION TO DISMISS PLAINTIFFS’ COMPLAINT FOR LACK OF PERSONAL

JURISDICTION AND TO QUASH SERVICE OF PROCESS

Affidavit of Eric J. Rube

 

I, Eric J, Ruhe, do hereby declare and certify as follows:
1. Tam over eighteen (18) years of age, sui juris, and have personal knowledge of all
the facts set forth herein. If called upon to testify in person, I would do so in accordance with the
| facts set out by me herein.
2. I am an officer of Bob Ruhe AG Service, Inc. (hereinafter “AG Service”).
3. I make this Affidavit on behalf of AG Service.
4, AG Service is an Ohio domestic corporation with offices in Leipsic, Ohio. AG
Service has never been incorporated in the state of Florida nor has it ever been authorized, at any
time in the past or at the present time, to do business in the state of Florida, nor has it sought the
privilege of doing so.
5, AG Service is an agricultural spraying operation that provides for the aerial
_ application of fertilizers, pesticides and fungicides on crops primarily situated in Ohio. The
application of pesticides in a specific state typically requires a state-issued license. AG Service
has neither sought nor obtained a Florida pesticide application license that would enable AG
Service to spray pesticides in the state of Florida.
6. AG Services was founded by my late father, Robert G. Ruhe, now deceased.
7. Robert G. Ruhe passed away on September 10, 2008.
8. AG Service is not in the business of purchasing, marketing, selling, and
distributing aircraft components.

9. AG Service does not have an office at any location in Florida.

EXHIBIT

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10. AG Service’s sole offices are and always have been located in Leipsic, Ohio.

11. AG Service does not have a registered agent located in Florida.

12, AG Service is not registered to do business in Florida.

13. AG Service does not have any bank accounts in Florida,

14, AG Service does not maintain any P.O. Boxes in Florida.

15. AG Service does not pay taxes to Florida.

16. AG Service does not own or lease any property in Florida and owns no telephone
lines in Florida,

17. AG Service does not own, possess, or control any assets or interests within
Florida,

18. AG Service does not have any employees, representatives or agents operating on
its behalf in Florida.

19, AG Service’s employees do not, and have never, travelled to Florida for their
business purposes.

20. AG Service has not committed tortious conduct or caused an injury within
Florida.

21. AG Service has not operated, conducted, engaged in, or carried on a business or
business venture in Florida.

22. AG Service has not caused any injury to persons or property in the state of
Florida. |

23. AG Service does not advertise to Florida residents or engage in solicitation or

service activities within Florida. AG Service does not place advertisements in newspapers
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printed in Florida nor does it place television or radio advertising with broadcasting stations
based in Florida.

24. AG Service’s business plans are not purposefully directed to sales or services in
Florida.

25. AG Service has never established channels for providing regular advice to
customers in Florida.

26. AG Service has never shipped, distributed or provided products, including aircraft
components, to residents of the state of Florida as part of any systematic or continuous business
operation.

27. AG Service has never established distribution channels for providing products,
including aircraft components, to residents of the state of Florida as part of any systematic or
continuous business operation.

28. AG Service is not an aircraft parts dealers, suppliers, or distributors.

29. AG Service provides the overwhelming majority of its services in the state of
Ohio.

30. AG Service has never provided business services in the state of Florida.

31. AG Service has never provided services to customers who were residents of the
state of Florida.

32. It would be a tremendous burden on AG Service to defend itself in the state of
Florida,

33. I have reviewed the First Amended Complaint filed in the United States District

Court for the Middle District of Florida under Case Number 6:14-cv-235-Orl-36GIJK.
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34, The First Amended Complaint references an engine with Serial No. L-20394-40A
(hereinafter “Subject Engine”) and a vacuum pump 215CC with Serial No. 1706 (“Subject
Vacuum Pump”). The subject engine and the subject vacuum pump will collectively be referred
to as the “Subject Aircraft Components”).

35. My father, Mr. Ruhe, purchased an aircraft N33033, including the Subject Engine,
as part of an aircraft salvage sale that my father intended to rebuild as a pleasure aircraft. I have
not verified whether this also included the subject vacuum pump. The Subject Engine was never
intended for use by AG Service. AG Service employs Turbo Thrush aircraft to conduct
agricultural spraying operations, which cannot be outfitted with a Piper engine such as the
Subject Engine. However, my father died before he had an opportunity to rebuild the aircraft,
including the Subject Engine.

36. The Subject Engine was sold strictly as a lingering asset from the Estate of Robert
G. Ruhe after his passing.

37. In August of 2011, I responded to an advertisement from Air-Tec, Inc. on
barnstormers.com. Air-Tec, Inc. was seeking to purchase Lycoming engine components.
Thereafter, the Subject Engine was sold to Air-Tec, Inc. AG Service did not arrange to ship the
Subject Engine to any location, including Florida. Rather, Ain-Tee, Inc. made all arrangements
for shipping the Subject Engine out of Ohio. The sale was consummated in Ohio, not in Florida.

38. | Moreover, the individual from Air-Tec, Inc. specifically informed me that Air-
Tec, Inc. overhauls Lycoming engines and exports them to Russia. Usage of the Subject Engine
in Florida or Texas was never mentioned.

39. Upon information and belief, the Subject Engine was never used to propel an

aircraft in flight in the state of Florida.
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40. Neither I nor any employee of AG Service could have foreseen that the Subject
Engine would be subsequently sold into the state of Texas or used on a flight from Texas to
Oklahoma.

41. Pursuant to 28 U.S.C § 1746, I declare under penalty of perjury under the laws of
the United States of America that the foregoing is true and correct.

FURTHER THE AFFIANT SA YETH NOT

Executed on this b Aday of June, 2014, f {i

Eric J, Ruhe
on behalf of Bob Ruhe AG Service, Inc.
